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EXHIBIT F
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January 25, 2018
VIA E-MAIL AND U.S. MAIL

Jodyann Galvin

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Re: Carter, et al. v. CIOX Health, LLC f/k/a HealthPort Technologies, LLC, et al.
Court File: 6:14-CV-06275-FPG

Dear Counsel,

In light of your agreement to accept service on behalf of Gregory Trerotola, we are tendering the
subpoena to you along with a check for witness and mileage fees in the amount of $66.54.

Sincerely,

NICHOLS KASTER, PLLP

Kai Richter

ce: Katherine L. Burns, Esq. (via electronic mail)
Stephen G. Schwarz, Esq. (via electronic mail)
Eric J. Ward, Esq. (via electronic mail)
Amanda B. Burns, Esq. (via electronic mail)

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